
41 So.3d 1116 (2010)
David L. WASHINGTON, Appellant,
v.
LABOR READY and Esis, Appellees.
No. 1D10-2989.
District Court of Appeal of Florida, First District.
August 18, 2010.
David L. Washington, pro se, Appellant.
No appearance for Appellees.
PER CURIAM.
Upon review of Appellant's response to this court's July 6, 2010, order to show cause, we DISMISS this appeal for lack of jurisdiction. See Millinger v. Broward County Mental Health Div., 672 So.2d 24, 26 (Fla.1996) ("It is a settled rule of law that mailing, as opposed to filing, a notice within the thirty-day filing period is insufficient to preserve appellate rights."); see also, e.g., Metro. Dade County v. Vasquez, 659 So.2d 355, 356 (Fla. 1st DCA 1995) *1117 (dismissing untimely appeal for lack of jurisdiction).
DISMISSED.
HAWKES, KAHN, and PADOVANO, JJ., concur.
